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                             EXHIBIT 100




                                                                 Ex. 100 - 6188
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                                                                               Page 1
 1

 2                   UNITED STATES DISTRICT COURT
 3                   SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------------------X
      TARLA MAKAEFF, et al., on
 5    Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
      all Others Similarly Situated,
 6

                      Plaintiffs,
 7

              v.
 8

      TRUMP UNIVERSITY, LLC, et al,
 9

                      Defendants.
10    ----------------------------------X
11

12                   VIDEOTAPED DEPOSITION
13                              OF
14                     CORINNE A. SOMMER
15                     New York, New York
16                 Wednesday, November 7, 2012
17

18

19

20

21

22

23

24    Reported by:
      ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25    JOB NO. 54530

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                                                                                Page 280
 1                               C. Sommer
 2           Q.      Paragraph 9, "Trump University used a
 3    standardized PowerPoint presentation..."
 4                   I believe we talked about this
 5    earlier, but that's not true, is it?
 6                   MS. ECK:       Objection.             Misstates the
 7           witness' testimony.             Asked and answered.
 8           A.      Each event had different -- a
 9    different presentation for each event.                         And if
10    the presenter had their own, they would use
11    that, and if they didn't have it, they were
12    given one to use.
13           Q.      And the next part of that says,
14    "...and scripts were used for all seminars."
15                   That's not true, is it?
16                   (Document review.)
17                   MS. ECK:       Objection.             Lacks
18           foundation.
19           A.      I think that has to do with the
20    presentation, what we just spoke about.
21           Q.      Okay.     But there were no scripts that
22    you ever saw, right?
23           A.      It wasn't a script, but I think
24    that's in the sense of if you're given someone
25    else's PowerPoint presentation to use, it's sort

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                                                                             Page 302
 1                                C. Sommer
 2    roller coaster through the day so you want to
 3    buy something.
 4           Q.      Now you reported back to Highbloom
 5    and Sexton about your impressions of the
 6    program, right?
 7           A.      Yes, mostly to Highbloom.
 8           Q.      And since you sat through a number of
 9    these, you weren't mesmerized and taken in by
10    this because this was old hat to you after you
11    had been through a few, right?
12                   MS. ECK:        Objection.             Vague.
13           A.      No.     I think every time it was sort
14    of exciting and you learned something new based
15    on the presenter.           Everyone had something new to
16    say, so I think every time was sort of new and
17    exciting.
18           Q.      And by learning something, you mean
19    something new about real estate?
20           A.      Yeah.
21           Q.      So even you who have gone through
22    program after program, you learned something new
23    each time?
24           A.      Well, because there were different
25    presenters, yes.

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                                                                               Page 303
 1                                 C. Sommer
 2           Q.      So it would depend on the presenter
 3    what you learned?
 4           A.      Yes.
 5           Q.      And some you learned more than
 6    others?
 7           A.      Well, they all have different
 8    techniques.
 9           Q.      Different styles?
10           A.      Yes.
11           Q.      Different information they're
12    conveying?
13           A.      Yes.
14           Q.      Different slides in their PowerPoint?
15                   MS. ECK:         Objection.             Misstates the
16           witness' testimony.
17           A.      No.     Well, it depends on some of the
18    presenters were using other people's, so some of
19    them had the same.
20           Q.      Some were the same and some were
21    different.
22           A.      Some were the same and some were
23    different.
24           Q.      All right.           And they had different
25    experiences and examples that they gave?

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                                                                              Page 304
 1                                 C. Sommer
 2           A.      Yes.
 3           Q.      And you'd report back to Highbloom
 4    and you would tell him, I thought this
 5    particular presenter was very good or effective,
 6    right?
 7           A.      Yes.
 8           Q.      And then other speakers you said not
 9    so much, I didn't think this one was as
10    effective.
11           A.      Yes.
12           Q.      Did you make any attempt to see if
13    your own impressions and comments coincided with
14    the participants of that program?
15           A.      No.
16           Q.      How many purchasers of the elite
17    programs did you ever interact with either in
18    person, by phone or by email?
19           A.      I don't know an exact number.
20           Q.      Was it more than five?
21           A.      I don't know.
22           Q.      On line 24 you state, "After
23    purchasing the elite program, I saw many
24    students who realized that they did not get what
25    they are promised."

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                             EXHIBIT 101




                                                                 Ex. 101 - 6194
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         Donald J. Trump, Sr.                                    September 12, 2012


                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA


             TARLA MAKAEFF, et al., on Behalf of
             Themselves and All Others Similarly
             Situated,
                    Plaintiffs,                           Civil Action No.
                            vs.                           3:10-CV-00940-
             TRUMP UNIVERSITY, LLC, et al.,               CAB(WVG)
                    Defendants.
             ___________________________________




                    Videotaped deposition of DONALD J. TRUMP, SR.
                    New York, New York
                    September 12, 2012




             Reported by:
             Gail L. Inghram Verbano:
             RDR, CRR, CSR-CA (No. 8635)


             Job No. 10003489


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          Donald J. Trump, Sr.                                   September 12, 2012


      1                          I've used my techniques and they've been

      2       very successful for me.          So if I can do it, so can

      3       other people.

      4                   Q      Could you tell me which tech books were
      5       taught in the 90-minute course?
      6                   A      Just my general feelings on locations, on

      7       purchasing, on renovations, on rehabilitations, on

      8       lots of different things.

      9                          A lot of things having to do with real

     10       estate.

     11                   Q      And when you say your "general feelings,"
     12       what are your general feelings?
     13                   A      Markets.   I've convinced a lot of people

     14       not to buy real estate over the years when they would

     15       have lost their shirt if they did.

     16                          In speeches I've told people "Don't buy

     17       real estate."         I've told people "Don't use exploding

     18       mortgages," "Don't use different forms of financing."

     19       And a lot of people listened to me, and they didn't

     20       do it.

     21                          And I've had, over the years, many, many

     22       letters written to me thanking me for saving their

     23       lives.

     24                   Q      Were all those techniques taught in the


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           Donald J. Trump, Sr.                                   September 12, 2012


       1       courses?
       2                   A      Some of them were.

       3                   Q      Which ones?
       4                   A      There was a period of time when I thought

       5       buying real estate as not a good thing, early on, and

       6       I was right about that.

       7                          And I know -- I let the professors know

       8       that, and I think some of the professors actually

       9       said that I don't feel that buying real estate right

      10       now is a good thing.

      11                          And I was right.     My timing happened to

      12       be right.

      13                   Q      And what time frame was that?
      14                   A      It was early on.

      15                   Q      Around what year?
      16                   A      I don't know.    Early on, during the --

      17       during the time prior to the trouble in real estate.

      18                   Q      And --
      19                   A      And if people listened to me, they would

      20       have saved a lot of their money.

      21                   Q      And so the courses taught the students --
      22                   A      Some of the courses did.     As I said, the

      23       courses weren't all the same.            I wanted to have

      24       professors make their points also.            I didn't want to


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           Donald J. Trump, Sr.                                   September 12, 2012


       1       make the single point.          I wanted to have professors

       2       make their point also.

       3                          But I told -- over the years I've told

       4       many people to buy and not to buy.            And my timing

       5       turned out to be very propitious.

       6                   Q      Okay.   So the not-to-buy version, was
       7       that during the bubble, 2005/2006?
       8                   A      Before the bubble, yeah.     Before the

       9       explosion.

      10                   Q      Before the bubble burst; right?
      11                   A      Before the bubble burst.

      12                   Q      To 2005 and 2006?
      13                   A      Before the bubble burst.     And I felt very

      14       negative about buying real estate, because I've seen

      15       it before.         And I've made speeches -- unrelated to

      16       Trump University.          But I've made speeches where I

      17       told people "Do not buy.          This is not the right time

      18       to buy."

      19                          I also talked about exploding mortgages,

      20       mortgages that come due at a later date.            And I've

      21       had many, many letters of people thanking me for

      22       literally saving them.

      23                   Q      And so the issue of exploding mortgage,
      24       was that taught in the courses?


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                              EXHIBIT 102




                                                                 Ex. 102 - 6199
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                                                                 Ex. 102 - 6200
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                              EXHIBIT 103




                                                                 Ex. 103 - 6201
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         Donald J. Trump, Sr.                                     September 12, 2012


                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA


             TARLA MAKAEFF, et al., on Behalf of
             Themselves and All Others Similarly
             Situated,
                    Plaintiffs,                           Civil Action No.
                            vs.                           3:10-CV-00940-
             TRUMP UNIVERSITY, LLC, et al.,               CAB(WVG)
                    Defendants.
             ___________________________________




                    Videotaped deposition of DONALD J. TRUMP, SR.
                    New York, New York
                    September 12, 2012




             Reported by:
             Gail L. Inghram Verbano:
             RDR, CRR, CSR-CA (No. 8635)


             Job No. 10003489


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           Donald J. Trump, Sr.                                   September 12, 2012


       1       of somebody else?
       2                   A      No.   I think they think that it's a

       3       company that's a successful -- very successful

       4       company.

       5                   Q      And it's successful because of you;
       6       correct?
       7                   A      Well, it's successful because of

       8       transactions; and lots of transactions over a period

       9       of years have added up to a great body of success,

      10       yes.

      11                   Q      And you oversaw those transactions;
      12       correct?
      13                   A      I did, yes.

      14                   Q      Do you know who Scott Leitzel is?
      15                   A      I know the name.    I don't know him.

      16                   Q      How about Michael Hinson?    Do you know
      17       who that is?
      18                   A      No.

      19                   Q      How about Stephen Gilpin?    Do you know
      20       who that is?
      21                   A      I think these are names of people that I

      22       taught where -- I think I know their names because I

      23       saw résumés, and I would see résumés of instructors,

      24       because it was important to me that we got good


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           Donald J. Trump, Sr.                                   September 12, 2012


       1       instructors.

       2                          So I don't know if that's what you're

       3       referring to.         But I've met numerous instructors, and

       4       I've also -- this is over a period of years.            And

       5       I've also seen the résumés of virtually everybody.

       6                          So that's where they sound familiar to

       7       me; and in some cases, I know them better because

       8       I've met them.

       9                   Q      Sure.   Which instructors did you meet?
      10                   A      I believe Donald Sexton and Mr. Caplan.

      11       I believe perhaps Childers.

      12                          I've met a number of them.   I don't know

      13       their names.         I mean, you're talking about years ago.

      14       This is actually years ago.

      15                          But I've met a number of instructors.        I

      16       wanted to see -- I really was very insistent that we

      17       get good instructors for the classes.

      18                          And I think the 97 percent bears that

      19       out, that we were successful in that regard.

      20                          But the concept of getting proper

      21       instructors was very important to me.

      22                   Q      Now, when did you meet Donald Sexton?
      23                   A      I don't know.   Years ago.

      24                   Q      How many times did you meet him?


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           Donald J. Trump, Sr.                                   September 12, 2012


       1                   A      I don't know.

       2                   Q      Do you remember what you talked about?
       3                   A      Just, I would have talked to everybody

       4       about the same thing.         I ask their experience.      I

       5       also gave them concepts of what I would like to talk

       6       about to students.

       7                          But I wanted each instructor to really do

       8       their own thing.         I wanted people with experience

       9       where they could talk about individual deals,

      10       different deals.

      11                          Actually, the classes were very

      12       different, because different instructors -- like when

      13       you go to a college and you have different

      14       instructors teaching, whether it's real estate or

      15       something else, I wanted instructors to be able to

      16       give individualized service based upon their

      17       experiences, not based on one standard rule of thumb

      18       because it's different.

      19                          As an example, different parts of the

      20       country are different.         You may have a whole

      21       different real estate mindset in Iowa than you do in

      22       California.         So the classes were very, very

      23       different.

      24                   Q      And did you attend any of the three-day


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           Donald J. Trump, Sr.                                      September 12, 2012


       1                   A      I don't know.    I really don't know.

       2                   Q      Do you remember what the presentation
       3       was -- what was the format of the presentation?
       4                   A      I don't know.

       5                   Q      Is there any other details that you can
       6       tell me about the --
       7                   A      The only detail, as I left, I was very

       8       impressed.

       9                   Q      Okay.    Now, you said that you had met --
      10       previously you had met with Donald Sexton; is that
      11       correct?
      12                   A      I believe so.    Again, there were -- I

      13       remember some names.           There was a Mr. Gordon,

      14       Mr. Sexton, Mr. Childers, Mr. Caplan.

      15                          There were four or five names -- I don't

      16       know, you know, when you add them all up, because

      17       you're talking about years ago.               But some would come

      18       up to my office.           And I met with a number of the

      19       professors -- one was a professor at Columbia

      20       University who was very impressive.               That may have

      21       been Mr. Sexton.

      22                          But I was very impressed with the people

      23       that we had and the people that I met.               But in all

      24       cases I looked at applications.               In other words, in


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           Donald J. Trump, Sr.                                     September 12, 2012


       1       some cases I didn't see them, but I'd look at their

       2       application when they applied and before we hired

       3       them.

       4                          And so I would be involved from that

       5       standpoint.         It was very important to me to make sure

       6       that good people represented what we were doing.

       7                   Q      In terms of the people that you met with
       8       in your office, would that be in your calendar?
       9                   A      No, it's so many years ago.       I don't have

      10       calendars from that many years ago.              You're talking

      11       about years ago.

      12                   Q      Okay.     So you didn't keep a calendar in
      13       2004?
      14                   A      I may have had a calendar, but I don't

      15       keep them for 10 years later.

      16                   Q      Okay.     Now, which résumés did you look
      17       at?
      18                   A      I don't know.     But many.

      19                   Q      Sitting here, you can't remember?
      20                   A      No.     But many, many résumés.

      21                   Q      Okay.     How many?
      22                   A      Like -- I can't say all, but I would say

      23       many of the people that taught, I, at a minimum,

      24       looked at résumés, yes.


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                             EXHIBIT 104
                        Pages: 6208-6251


                       [Filed Conditionally
                           Under Seal]
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                              EXHIBIT 105




                                                                 Ex. 105 - 6252
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                                                                                Page 1
  1    UNITED STATES DISTRICT COURT
  2    SOUTHERN DISTRICT OF CALIFORNIA
  3    ----------------------------X
  4    TARLA MAKAEFF, et al., on
  5    Behalf of Themselves and All
  6    Others Similarly Situated,
  7                      Plaintiffs,
  8          -vs-                                 No. 3:10-CV-00940-CAB
  9    TRUMP UNIVERSITY,          LLC,
 10    et al,
 11                      Defendants.
 12    ----------------------------X
 13

 14    VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
 15                   San Francisco, California
 16                         October 15, 2012
 17

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 20

 21

 22

 23    Reported by:
       Bonnie Pruszynski, RMR, CSR No. 13064
 24    JOB NO. 54291
 25



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                                                                               Page 118
  1            Q        So, sorry, I did it again in my
  2    question.
  3                     Did you ever attend any Trump
  4    University live programs in which people paid to
  5    attend?
  6            A        I did not.           My contact with Trump
  7    University ended when I resigned.                       I may have
  8    talked to Mark Covais on the phone or something,
  9    because, you know, we were friends, but other than
 10    that, there was zero talk about Trump University.
 11    Really it was more about how he was doing and
 12    stuff.      I think I bumped into him once down on
 13    Wall Street.
 14            Q        What people did you talk to about
 15    their experiences after purchasing a Trump
 16    University program, a live program?
 17            A        I talked to Rami, and I don't
 18    remember the other gentleman's name, but they had
 19    called me in a big panic of the decision that they
 20    had made.
 21            Q        All right.           So, Rami you identified
 22    before.     He was at the live event.
 23            A        He was.
 24            Q        And you understand that he purchased
 25    a Trump University live program after that?

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                                                                             Page 126
  1            Q        All right.           Would you look on page
  2    two, paragraph nine.            The first sentence says,
  3    "Trump University's live seminars and events were
  4    not based on the content of Eldridge Real Estate
  5    Investor Training Program."
  6            A        Um-hum.
  7            Q        Do you know what any of the live
  8    seminars or events had in terms of content other
  9    than the one free program you went to?
 10            A        I don't know.             Well, as far as I had
 11    understood, the content was created by the person
 12    that was hired to speak.
 13            Q        For the one event you went to; right?
 14            A        Correct.
 15            Q        And you have had no contact with
 16    anybody from Trump University since then?
 17            A        Correct.
 18            Q        So, you can only talk about the very
 19    first free live event program that you went to?
 20            A        Correct.
 21            Q        Then the next sentence states that
 22    "instead, Mark Dove, who essentially owns the
 23    front-end high-pressure speaker scam world,
 24    provided speakers, instructors, mentors and
 25    salespeople to Trump University."

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                                                                      Ex. 105 - 6255
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                                                                               Page 116
  1            A        I don't, no.
  2            Q        Do you know what his background is?
  3            A        I don't, other than that.
  4            Q        Do you know what his experience in
  5    real estate is?
  6            A        I don't.
  7            Q        And did you have any discussions with
  8    him other than hello?
  9            A        No.
 10            Q        Have you done any research about Mark
 11    Dove?
 12            A        I have not.           Maybe I Googled him.         I
 13    have no idea.
 14            Q        And do you know what his role or
 15    involvement was with Trump University?
 16            A        I don't know.             I was told at the time
 17    that he was going to be a resource for hiring
 18    speakers.
 19            Q        Who told you that?
 20            A        I believe it was David Highbloom.
 21            Q        And do you know whether or not he
 22    actually had any such role?
 23            A        I don't know.
 24            Q        And are you able to identify any
 25    particular speakers or presenters or mentors that

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                                                                      Ex. 105 - 6256
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                                                                                 Page 128
  1            Q        All right.           So, for the Trump
  2    University, the one live event program that you
  3    attended, the free program --
  4            A        It was my understand that Mark Dove
  5    provided the speaker for that program.                         But I
  6    don't know that right now or I don't recall if
  7    that's true and accurate.                But that was my
  8    understand.
  9            Q        So, you don't have any personal
 10    knowledge of that fact.
 11            A        No.
 12            Q        And instructors, do you know what
 13    instructors came from Mark Dove?
 14            A        I believe -- and I don't -- I believe
 15    David Stamper.         I believe he was a -- I believe he
 16    was an instructor and also a front-end speaker
 17    that worked for --
 18            Q        Did you know Dave Stamper?
 19            A        Yes.      I met him at some of the live
 20    events.
 21            Q        You only went to one live event.
 22            A        He started working and doing sales
 23    stuff starting for the Trump Power Summits.
 24            Q        Okay.      So, I want to put the Trump
 25    Power Summit aside, because that's --

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                                                                          Ex. 105 - 6257
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                                                                                  Page 134
  1    Excuse me.
  2            Q        And do you know whether that
  3    individual ever became a mentor for Trump
  4    University?
  5            A        I don't know.
  6            Q        Do you know if any of the Trump
  7    University mentors had anything to do with Mark
  8    Dove?
  9            A        It was my understanding that he was
 10    providing all of them to Trump University, but I
 11    don't know what contract they had agreed to or
 12    where they came from.             That was just my
 13    understanding.
 14            Q        Right.
 15            A        That's what I've been told.
 16            Q        Do you have any personal knowledge
 17    that any of the mentors that Trump University
 18    actually used or hired actually came through Mark
 19    Dove?
 20                     MS. ECK:         Objection.            Asked and
 21            answered.
 22                     THE WITNESS:            Um, I don't -- I don't
 23            know.
 24            Q        And salespeople, what salespeople
 25    came through Mark Dove?

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                                                                           Ex. 105 - 6258
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                       EXHIBITS 106-107
                        Pages: 6259-6270


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                              EXHIBIT 108




                                                                 Ex. 108 - 6271
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6269 Page 31 of 83


          From: Trump University cemail@lnfo.trumpuniverslty.com>
          To: brandon
          Sent: Thu, April 29, 2010 12:06:00 PM
          Subject: Entrepreneurs Needed to be My Next Apprentice




             I want people who want succest
             If you Think BiG and believe you've got what it takes to succeed, I want you!
            76% of the world's millionaires made theIr
            fortunes in real estate. Now it's your turn. My
            lather dId It, I dId It, and now I'm ready to teach
            you how to do lt too.



            My team of real estate experts at Trump University is
            coming to your area in the next few days to conduct
            my Free Intro Apprenticeship Workshop. If you think            E


            you've got what it takes to be my next Apprentice,
            step up and attend. You should also bring along a
            trusted partner. This is YOUR opportunity to create
            wealth and take control of your own financial future
            with proven strategies that work in the current real
            estate market.
                                                                      I'm also going to give you my
             Attend the Free Intro Apprenticeship Workshop to       "Secrets of Real Estate Marketing"
             learn how to:                                             investor toolkit (a $50 value)
                                                                    absolutely FREE when you attend.
                I. Buy properties from banks at DEEP discounts      Don't waste time - seating is very
                   Use short sales to CONTROL property              limited and my Trump Workshops
                   Increase your financial POWER with leverage               always fill up fast.
                   Negotiate PROFITABLE deals that meet your
                   goals
                   Attend and learn how to develop the
                   CONFIDENCE to succeed in real estate



             See you at the topI




                                                                                                     Exhibit 3
                                                                                                     Keller Vol. I
             Donald J. Trump
                                                                                                      1/17/12
             Chairman, Trump University                                                           Cae Gemandt, CSR #5342




                                                                                                              TU-P LTFOO2O6



                                                                                                 Ex. 108 - 6272
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6270 Page 32 of 83




                              EXHIBIT 109




                                                                 Ex. 109 - 6273
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   1                  UNITED STATES DISTRICT COURT
   2                SOUTHERN DISTRICT OF CALIFORNIA
   3
   4
        TARLA MAKAEFF, BRANDON KELLER,
   5    ED OBERKROM, and PATRICIA
        MURPHY, on Behalf of Themselves
   6    and All Others Similarly
        Situated,
   7                                                No. 10 CV 0940 IEG (WVG)
                        Plaintiffs,
   8
             vs.
   9
        TRUMP UNIVERSITY, LLC, (aka
  10    Trump Entrepreneur Initiative) a
        New York Limited Liability
  11    Company, DONALD J. TRUMP, and
        DOES 1 through 50, inclusive,
  12
                        Defendants.
  13
  14    _________________________________________________________
  15
  16                  DEPOSITION of TARLA MAKAEFF
  17                     San Diego, California
  18                   Monday, January 30, 2012
  19                            Volume I
  20
  21
  22    Reported by:
        Kae F. Gernandt
  23    RPR, CSR No. 5342
  24    Job No. 130455
  25    PAGES 1 - 282

                                                                             Page 1

                       Veritext National Deposition & Litigation Services
                                         866 299-5127
                                                                            Ex. 109 - 6274
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6272 Page 34 of 83

   1    guest?                                                                 12:03:15

   2             A.    No.    She was trying to get me to split

   3    the cost with her.

   4             Q.    And did you agree to do that before you

   5    went to the program?                                                   12:03:22

   6             A.    Yes.

   7             Q.    What was her background in real estate,

   8    if you know?

   9             A.    She owns a triplex and had owned a house

  10    prior to that and, I believe, had done some real                       12:03:37

  11    estate investing with her -- one of her brothers.

  12    I'm not certain.       But she was quite knowledgeable.

  13             Q.    And did you consider yourself a novice?

  14             A.    Yes.

  15             Q.    Is it an accurate statement that you                    12:04:01

  16    knew nothing about real estate other than purchasing

  17    your own residence before attending Trump

  18    University?

  19             A.    That's correct.

  20             Q.    Before you attended the -- the program                  12:04:11

  21    with her -- that was called Fast Track to

  22    Foreclosure, correct?

  23             A.    The one that I attended with her,

  24    correct.

  25             Q.    Before you attended that program, did                   12:04:22

                                                                              Page 64

                        Veritext National Deposition & Litigation Services
                                          866 299-5127
                                                                             Ex. 109 - 6275
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6273 Page 35 of 83

   1    you are receive any information from Trump                             12:04:24

   2    University?

   3            A.     No.

   4            Q.     Did you read any materials about Trump

   5    University before you attended the Fast Track to                       12:04:31

   6    Foreclosure?

   7            A.     No.

   8            Q.     So, when you showed up for the three-day

   9    program, is it accurate that you had not reviewed or

  10    seen any information about Trump University?                           12:04:44

  11            A.     No, I had not.

  12            Q.     To your knowledge, did you sign any kind

  13    of contract or agreement with Trump University

  14    regarding Fast Track to Foreclosure?

  15            A.     For the 1500-dollar aspect?                             12:05:01

  16            Q.     Right.

  17            A.     I don't believe so.         I don't recall.

  18            Q.     Do you have any memory of paying Trump

  19    University any money for you to attend the Fast

  20    Track to Foreclosure?                                                  12:05:14

  21            A.     No.   I paid my friend $750.

  22            Q.     That was some weeks later, right?

  23            A.     It was -- yes, post the course.             I don't

  24    recall the amount of weeks, but . . .

  25            Q.     All right.     Let's -- let's talk about                12:05:42

                                                                              Page 65

                        Veritext National Deposition & Litigation Services
                                          866 299-5127
                                                                             Ex. 109 - 6276
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                             EXHIBIT 110
                        Pages: 6277-6280


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                              EXHIBIT 111




                                                                 Ex. 111 - 6281
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6276 Page 38 of 83

         Donald J. Trump, Sr.                                     September 12, 2012


                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA


             TARLA MAKAEFF, et al., on Behalf of
             Themselves and All Others Similarly
             Situated,
                    Plaintiffs,                           Civil Action No.
                            vs.                           3:10-CV-00940-
             TRUMP UNIVERSITY, LLC, et al.,               CAB(WVG)
                    Defendants.
             ___________________________________




                    Videotaped deposition of DONALD J. TRUMP, SR.
                    New York, New York
                    September 12, 2012




             Reported by:
             Gail L. Inghram Verbano:
             RDR, CRR, CSR-CA (No. 8635)


             Job No. 10003489


                                                                            Page 1
                                      www.aptusCR.com
                                                                 Ex. 111 - 6282
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6277 Page 39 of 83

           Donald J. Trump, Sr.                                   September 12, 2012


       1       of somebody else?
       2                   A      No.   I think they think that it's a

       3       company that's a successful -- very successful

       4       company.

       5                   Q      And it's successful because of you;
       6       correct?
       7                   A      Well, it's successful because of

       8       transactions; and lots of transactions over a period

       9       of years have added up to a great body of success,

      10       yes.

      11                   Q      And you oversaw those transactions;
      12       correct?
      13                   A      I did, yes.

      14                   Q      Do you know who Scott Leitzel is?
      15                   A      I know the name.    I don't know him.

      16                   Q      How about Michael Hinson?    Do you know
      17       who that is?
      18                   A      No.

      19                   Q      How about Stephen Gilpin?    Do you know
      20       who that is?
      21                   A      I think these are names of people that I

      22       taught where -- I think I know their names because I

      23       saw résumés, and I would see résumés of instructors,

      24       because it was important to me that we got good


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                                          www.aptusCR.com
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Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6278 Page 40 of 83

           Donald J. Trump, Sr.                                   September 12, 2012


       1       instructors.

       2                          So I don't know if that's what you're

       3       referring to.         But I've met numerous instructors, and

       4       I've also -- this is over a period of years.            And

       5       I've also seen the résumés of virtually everybody.

       6                          So that's where they sound familiar to

       7       me; and in some cases, I know them better because

       8       I've met them.

       9                   Q      Sure.   Which instructors did you meet?
      10                   A      I believe Donald Sexton and Mr. Caplan.

      11       I believe perhaps Childers.

      12                          I've met a number of them.   I don't know

      13       their names.         I mean, you're talking about years ago.

      14       This is actually years ago.

      15                          But I've met a number of instructors.        I

      16       wanted to see -- I really was very insistent that we

      17       get good instructors for the classes.

      18                          And I think the 97 percent bears that

      19       out, that we were successful in that regard.

      20                          But the concept of getting proper

      21       instructors was very important to me.

      22                   Q      Now, when did you meet Donald Sexton?
      23                   A      I don't know.   Years ago.

      24                   Q      How many times did you meet him?


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                                          www.aptusCR.com
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           Donald J. Trump, Sr.                                   September 12, 2012


       1       foreclosure, or are you asking me what is a

       2       foreclosure system?

       3       BY MS. JENSEN:

       4                   Q      System.
       5                   A      Are you asking it relative to what they

       6       teach in the school?

       7                   Q      Yes.
       8                   A      It's a definition and a system of

       9       foreclosures.         But you'd have to ask Michael Sexton

      10       as to how it was taught.            And, frankly, you'd have to

      11       ask all of the different instructors as to also what

      12       their take on it is.

      13                   Q      Okay.     Did Trump University have any
      14       criteria for its instructors?
      15                   A      Yeah, I think we've asked -- I mean, I

      16       think I've answered this a number of times.

      17                   Q      Okay.     And what are the criteria?
      18                   A      We wanted to make sure they had a good

      19       record, track record of having done a good job over a

      20       period of time --

      21                   Q      Okay.
      22                   A      -- as instructors.

      23                   Q      Okay.     As instructors?
      24                   A      Yeah.     And in some cases, in real-life


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           Donald J. Trump, Sr.                                   September 12, 2012


       1       situations.

       2                   Q      So they primarily had to have prior
       3       teaching experience?
       4                   A      If they had a good reputation as a

       5       developer, as an instructor, as a person that was

       6       familiar with real estate.          We wanted to make sure we

       7       had good people teaching the course.

       8                          And, obviously, we did, because we had a

       9       97 percent approval rating.

      10                          MS. JENSEN:   I'm going to move to strike

      11       the end of the answer after "had good people teaching

      12       the course."

      13       BY MS. JENSEN:

      14                   Q      Were there any educational requirements
      15       for the instructors?
      16                   A      You'd have to ask Mr. Sexton.

      17                   Q      Okay.   But sitting here now, you don't
      18       know?
      19                   A      Of course, they had to have educational

      20       requirements, but you'd have to ask him specifically

      21       what they were.

      22                   Q      Okay.   So do you know whether there was
      23       any college requirement?
      24                   A      You'd have to ask Mr. Sexton.    We had


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                                          www.aptusCR.com
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                             EXHIBIT 112
                        Pages: 6287-6289


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                              EXHIBIT 113




                                                                 Ex. 113 - 6290
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                                                                                Page 1
  1    UNITED STATES DISTRICT COURT
  2    SOUTHERN DISTRICT OF CALIFORNIA
  3    ----------------------------X
  4    TARLA MAKAEFF, et al., on
  5    Behalf of Themselves and All
  6    Others Similarly Situated,
  7                      Plaintiffs,
  8          -vs-                                 No. 3:10-CV-00940-CAB
  9    TRUMP UNIVERSITY,          LLC,
 10    et al,
 11                      Defendants.
 12    ----------------------------X
 13

 14    VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
 15                   San Francisco, California
 16                         October 15, 2012
 17

 18

 19

 20

 21

 22

 23    Reported by:
       Bonnie Pruszynski, RMR, CSR No. 13064
 24    JOB NO. 54291
 25



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                                                                               Page 144
  1    deal.       I mean, and he just made it sound like that
  2    was -- well, like he's done forever, which I
  3    thought was not accurate.
  4            Q         Did he talk about the one deal during
  5    the presentation?
  6            A         Briefly.        That was his only example
  7    of how he had made so much money on an
  8    income-producing property.
  9            Q         And that's what he told the audience?
 10            A         He did.
 11                      MS. ECK:        Objection.            Vague.
 12            Q         And what did you see that Trump
 13    University claimed that its teachers and mentors
 14    were all experts in real estate?
 15            A         I believe some of the marketing
 16    materials that I had -- I had seen an e-mail
 17    for -- for the seminar, I believe, that had stated
 18    like, work with hand-picked experts or something
 19    like that.
 20            Q         Okay.     Right now, I'm just talking
 21    about their experience.               What you state here is
 22    that they claimed that they were all experts in
 23    real estate.       That line.
 24            A         I don't know, that might be partially
 25    inaccurate, saying claimed, because I don't know

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                                                                                   Page 145
  1    if they personally stood up there and said, "I am
  2    an expert."      I don't -- I don't recall that detail
  3    of the seminar.
  4            Q        All right.           And then the next part of
  5    that says, "I believe that most of the
  6    instructors, mentors and coaches had very little
  7    or no personal experience in the real estate
  8    techniques that they were teaching."                           I want to
  9    focus on that part for a moment.
 10            A        Okay.
 11            Q        List for me all of the instructors
 12    that that you are aware of that worked for Trump
 13    University.
 14            A        One of the instructors was -- I
 15    believe his name was Mark.                 The only experience
 16    that he had was, he did graduate from NYU's real
 17    estate program.        I don't know if he -- if it was a
 18    bachelor's degree or what specific training it
 19    was, but I know that he did do some real estate
 20    instruction.
 21                     But he didn't have any properties
 22    himself.     But then he also -- he had the support
 23    of Gary Eldred, so that -- which Gary, I
 24    understand, is -- is an expert.                      But Mark was --
 25    was the instructor that Trump had to execute most

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                                                                               Page 147
  1                     So, this Mark fellow, do you know
  2    what his last name is?
  3            A        I don't remember.                 No, I don't
  4    remember what it is.
  5            Q        So, he was teaching Gary Eldred's
  6    information; correct?
  7            A        He was.        And that was separate, aside
  8    from the -- from the seminars.                     So I am just going
  9    through why -- so the instructors, that is not in
 10    relation to the seminars, that is just in general.
 11            Q        Okay.      So, when you were talking in
 12    this paragraph that you believe that most had
 13    little or no personal experience, you were talking
 14    about the online work?
 15            A        For the instructors, yes.
 16            Q        And the instructor you identified is
 17    Mark, and he was teaching Gary Eldred's --
 18            A        REIT program.
 19            Q        REIT.
 20            A        Yes.
 21            Q        And you believe Gary Eldred is very
 22    experienced in real estate; correct?
 23            A        Yes.      The mentors --
 24            Q        I'm sorry, just a minute.
 25                     And that was the online program, Gary

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                                                                              Page 152
  1    background and experience?
  2            A        For the live events.
  3                     I believe she had done something in
  4    real estate.      I think it was more in event
  5    coordination, but I don't -- I never saw her
  6    resumé.
  7            Q        Don Sexton, you said you met him;
  8    right?
  9            A        I did.
 10            Q        And he has background in real estate,
 11    marketing?
 12            A        Entrepreneurship, I believe.                  I don't
 13    think he has a background in real estate.
 14            Q        And he wrote the materials on
 15    entrepreneurship?
 16            A        Correct.
 17            Q        You think he's an expert in that
 18    area?
 19            A        Yes.
 20            Q        Eric Brown?
 21            A        No.
 22            Q        Gary Eldred, you gave --
 23            A        Gary Eldred I think is -- as far as
 24    my experience with Gary, he was great.
 25            Q        And experienced --

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                                                                                  Page 154
  1            Q        James Harris?
  2            A        No.
  3            Q        James Shead?            S-H-E-A-D.
  4            A        No.
  5            Q        Jerry Foster?
  6            A        No.
  7            Q        Jim Fletcher?
  8            A        No.
  9            Q        Jim Guarino?
 10            A        No.
 11            Q        JJ Childers?
 12            A        JJ Childers, I met at a Trump Power
 13    Summit.     To my knowledge, he did not work in real
 14    estate.     I want to say that he was an attorney and
 15    dealt with wealth management.
 16            Q        And do you know what his background
 17    and experience is in wealth management?
 18            A        I believe -- I don't know what
 19    exactly he does in wealth management.                          I think I
 20    did -- I did see his resumé.                    He didn't show it to
 21    me.   I believe it was part of a presentation that
 22    he gave.     I believe it was in Orlando.
 23                     But I don't believe he had -- he did
 24    anything in real estate.
 25            Q        Did he appear to be experienced in

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                                                                           Ex. 113 - 6296
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                                                                               Page 155
  1    wealth management?
  2            A        Yeah, I think so.
  3            Q        And do you know if he spoke at Trump
  4    University programs about wealth management?
  5            A        I don't know if he did or not.
  6            Q        Joe Lahore?           L-A-H-O-R-E.
  7            A        I don't know him.
  8            Q        John Jamieson?
  9            A        No.
 10            Q        Johnny Horton?
 11            A        No.
 12            Q        Keith Sperry?             S-P-E-R-R-Y.
 13            A        No.
 14            Q        Kerry Lucas?
 15            A        No.
 16            Q        Kevin Dalgleish?                 D-A-L-G-L-E-I-S-H.
 17            A        No.
 18            Q        Kevin Derrick?
 19            A        No.
 20            Q        Kevin Shortle?                 S-H-O-R-T-L-E.
 21            A        No.
 22            Q        Koz Khosravani?
 23            A        No.
 24            Q        Lee Arnold?
 25            A        No.

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                                                                        Ex. 113 - 6297
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                                                                             Page 160
  1    expert, no.      He may have dabbled in real estate,
  2    but enough to -- to deem him as an expert,
  3    definitely no.
  4            Q        You are saying he said that or you
  5    are concluding that?
  6            A        He said that.
  7            Q        He said he's not an expert in real
  8    estate?
  9            A        I don't know if he said those exact
 10    words, but --
 11            Q        Tim Gorsline?
 12            A        No.
 13            Q        Tim Sardinia?             S-A-R-D-I-N-I-A.
 14            A        I recognize the name, but I don't
 15    know who he is.
 16            Q        Troy Peterson?
 17            A        No.
 18            Q        William Cannon?
 19            A        No.
 20            Q        So, the sum total of your knowledge
 21    about the experience of the mentors and coaches
 22    are the couple people that you just identified?
 23            A        It is, yes.
 24            Q        Out of those maybe 75 names?
 25            A        Yes.      And I -- I have no idea when

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                                                                      Ex. 113 - 6298
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                                                                             Page 161
  1    those individuals joined in the company, and I
  2    left in May of 2007.            So, up until May of 2007 are
  3    the people that I would know, but I would be
  4    willing to bet that those people joined after May
  5    of 2007.
  6            Q        All right.           So, your view of the
  7    world of Trump University on the live programs
  8    is --
  9            A        Up until May of 2007.
 10            Q        Right.       So one event when the -- when
 11    the programs were just getting started; right?
 12            A        Correct.
 13            Q        And you have no information or idea
 14    about anything after May of 2007?
 15            A        No.
 16            Q        Is that right?
 17            A        Correct.
 18            Q        Now, I just want to make sure I close
 19    this part out.         On paragraph nine, when you talked
 20    about the front-end high-pressure speaker scam
 21    world, you had mentioned the Trump Institute, and
 22    that you had gone to that program and that you
 23    didn't like the way they had put on that program.
 24    But what was it that this phrase comes from, "the
 25    front-end high-pressure speaker scam world"?

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                                                                      Ex. 113 - 6299
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                              EXHIBIT 114




                                                                 Ex. 114 - 6300
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6293 Page 55 of 83


                                                                                Page 1
  1

  2                  UNITED STATES DISTRICT COURT
  3                  SOUTHERN DISTRICT OF NEW YORK
  4   ----------------------------------X
      TARLA MAKAEFF, et al., on
  5   Behalf of Themselves and                Case No. 3:10-CV-00940-CAB(WVG)
      all Others Similarly Situated,
  6

                      Plaintiffs,
  7

              v.
  8

      TRUMP UNIVERSITY, LLC, et al,
  9

                      Defendants.
 10   ----------------------------------X
 11

 12                  VIDEOTAPED DEPOSITION
 13                              OF
 14                     CORINNE A. SOMMER
 15                     New York, New York
 16                Wednesday, November 7, 2012
 17

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 20

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 24   Reported by:
      ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
 25   JOB NO. 54530

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                                                                      Ex. 114 - 6301
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                                                                                  Page 67
  1                                   C. Sommer
  2            A.       No.
  3            Q.       Did you ever meet J.J. Childers?
  4            A.       Yes.
  5            Q.       And do you know his background?
  6            A.       He's a real estate lawyer.
  7            Q.       Did you ever hear him present?
  8            A.       Yes.
  9            Q.       And what topics did he address?
 10            A.       He, I believe he just did the real
 11    estate law.
 12            Q.       Do you remember the specific topics
 13    he addressed?
 14            A.       No.
 15            Q.       Steve Miller, is that a name that
 16    sounds familiar?
 17            A.       The name sounds familiar, but I'm not
 18    sure.        There was a lot of presenters at the end
 19    of my time there that were coming in.
 20            Q.       How about Wear (phonetic), W-a-r-r,
 21    or Warr?
 22            A.       No.
 23            Q.       Did you ever look at any of the
 24    resumés or background or experience of any of
 25    the presenters?

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                                                                          Ex. 114 - 6302
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6295 Page 57 of 83


                                                                              Page 68
  1                               C. Sommer
  2            A.    Not that I'm aware.
  3            Q.    Is it accurate that you would not
  4    know whether any of the speakers or presenters
  5    were qualified to present?
  6            A.    Well, based on my conversations with
  7    them.
  8            Q.    And what conversations did you have
  9    with -- which speakers did you talk with that
 10    you have in mind?
 11            A.    Well, it wasn't necessarily a
 12    speaker, but the sales teams, the sales teams,
 13    marked up sales team, not all of them had real
 14    estate experience.
 15            Q.    I'm sorry.          Say that again?
 16            A.    The sales teams, the ones who were
 17    selling after the speaking events, not all of
 18    them had the real estate -- those are the ones
 19    in particular I'm talking about.
 20            Q.    All right.          So I'm talking about
 21    something different.
 22                  I'm talking about the people that
 23    were actually teaching the courses, the
 24    presenters, instructors.
 25                  Do you have any information about

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                                                                      Ex. 114 - 6303
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6296 Page 58 of 83


                                                                              Page 69
  1                               C. Sommer
  2    whether or not they were qualified to teach or
  3    present?
  4          A.      The ones that I saw, the specific
  5    presenters I saw and that I talked about
  6    earlier, no.
  7          Q.      All right.          Any other speakers that
  8    you saw that you have any information whether or
  9    not they're qualified?
 10          A.      No.    I just had conversations that I
 11    had with them.
 12          Q.      Based on your conversations with
 13    them, did you form any opinion as to whether or
 14    not you thought they were qualified to teach?
 15          A.      Some of them, yes, I did form an
 16    opinion.
 17          Q.      Which ones?
 18          A.      That were qualified to teach?
 19          Q.      Right.
 20          A.      J.J., Denise.            Gary seemed -- I mean
 21    he had been working there before, so I assumed
 22    he had the real estate experience and he had
 23    written a book, one of Donald Trump's brand new
 24    books.     Those are the only names I can think of
 25    in particular.

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                                                                      Ex. 114 - 6304
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                                                                               Page 222
  1                               C. Sommer
  2    University?
  3          A.      I don't remember who was.
  4          Q.      And other than Steve Goff and Denise
  5    DeVoe, are you aware of any other mentors that
  6    worked for Trump University?
  7                  MS. ECK:        Other than she's testified
  8          to earlier?
  9                  MR. SCHNEIDER:             Well, I'm not sure
 10          she talked about mentors.
 11          A.      I'm not sure if Kasper ended up being
 12    a mentor or Steve Miller.
 13                  And I think J.J. might have been a
 14    mentor, but I'm not 100 percent sure.
 15                  It was sort of like any of the
 16    presenters could have been a mentor.
 17          Q.      Were any of the presenters that you
 18    saw present, were any of them in your mind not
 19    experienced or qualified in real estate?
 20                  MS. ECK:        Objection.             Calls for
 21          speculation.
 22          A.      No, but like I said, I didn't see
 23    everyone and I didn't go to every event.
 24          Q.      I understand.
 25                  Just the ones that you saw or the

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                                                                        Ex. 114 - 6305
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6298 Page 60 of 83


                                                                              Page 223
  1                                C. Sommer
  2    events that you attended, were all of those
  3    presenters or mentors qualified in real estate
  4    to your knowledge?
  5          A.      Yes.
  6          Q.      Were you familiar with the term
  7    "advantage hot line"?
  8          A.      It sounds familiar.                   Is that from the
  9    Trump -- the magazine?
 10          Q.      Yes.
 11          A.      Yeah.
 12          Q.      Do you know what that was?
 13          A.      Cheryl dealt with the magazine.                   I
 14    mean I saw it and we gave it out at some of the
 15    events I believe.
 16          Q.      And was that something that was
 17    available for people by subscription?
 18          A.      I have no idea.
 19                  (Defendants' Exhibit Sommer 29,
 20          Performance Review dated 10/2/07 and Sales
 21          Compensation Plan Summary, Bates stamped
 22          TU131804 through 810, marked for
 23          identification, as of this date.)
 24    BY MR. SCHNEIDER:
 25          Q.      I've marked as Exhibit 29, a

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                                                                       Ex. 114 - 6306
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6299 Page 61 of 83


                                                                                   Page 257
  1                                C. Sommer
  2          Q.      On line 18 in paragraph 4.                        "Far from
  3    providing a complete real estate education..."
  4                  Are the words "complete real estate
  5    education," were those your words that are in
  6    quotes?
  7          A.      No.
  8          Q.      All right.           The last part of that
  9    paragraph where you state, "I can recall
 10    instances where consumers were asking for more
 11    information and the presenter said there's other
 12    programs and services available," we've have
 13    already talked about that, right?
 14          A.      Yes.
 15          Q.      Paragraph 5, "During the time I was
 16    employed at Trump University, many of the
 17    speakers, instructors and mentors lacked real
 18    estate experience."            So I think we covered this,
 19    but let's just make sure here.
 20                  Identify which speakers were speakers
 21    when you were there that you believe lacked real
 22    estate experience?
 23          A.      I think it was mostly the sales team.
 24          Q.      Okay.       And none of them were
 25    speakers, right?

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                                                                            Ex. 114 - 6307
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6300 Page 62 of 83


                                                                                Page 258
  1                                C. Sommer
  2          A.      Not to my knowledge.
  3          Q.      All right.           Same question for
  4    instructors.
  5          A.      The instructors that I saw, as far as
  6    I knew, they had experience.                     I don't know.    I
  7    don't know their background.
  8          Q.      And the mentor, the one mentor that
  9    you saw in action, you thought he was
 10    experienced, right?
 11          A.      Yes.
 12          Q.      Are you aware of any mentors that
 13    lacked real estate experience?
 14          A.      Not that I know of.
 15          Q.      The next line, "Many of them did not
 16    even own houses."
 17                  Did you ask people about what they
 18    owned?
 19          A.      That was really David Stamper who I'm
 20    not sure if he ended up speaking.                        He was
 21    telling me before on my last event with him that
 22    he was going to be speaking at a future event.
 23    So I don't know if he was a speaker, but he
 24    didn't have real estate experience then.
 25          Q.      Okay.       So this paragraph here is

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                                                                         Ex. 114 - 6308
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                       EXHIBITS 115-116
                        Pages: 6309-6318


                       [Filed Conditionally
                           Under Seal]
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                              EXHIBIT 117




                                                                 Ex. 117 - 6319
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                                                                                 Page 1
  1          IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  2

       TARLA MAKAEFF, et al., on §
  3    Behalf of Themselves and  §
       All Others Similarly      §
  4    Situated,                 §
                                 §
  5             Plaintiffs       §
                                 §                     Civil Action No.
  6    VS.                       §                     3:10-CV-00940-CAB
                                 §
  7    TRUMP UNIVERSITY, LLC,    §
       et al.,                   §
  8                              §
                Defendants       §
  9    _________________________ §
 10
 11
 12
 13
 14
 15        VIDEOTAPED DEPOSITION OF CHERYL DONNELLY
 16                     Austin, Texas
 17                Friday, November 2, 2012
 18
 19
 20
 21
 22    Reported by:
 23    MICHEAL A. JOHNSON, CRR
 24    JOB 54334
 25



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                                                                       Ex. 117 - 6320
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6304 Page 66 of 83


                                                                              Page 34
  1            A.    It says here the Wealth Builder's
  2    Network.     At the time it was called Trump
  3    Advantage.
  4            Q.    And what is that?
  5            A.    It is a magazine that has eight
  6    pages of custom Trump content and 24 pages of
  7    content that is also used by other marketing
  8    companies.     It gives people access to 800
  9    numbers to call and ask questions regarding
 10    wealth building, insurance.
 11            Q.    Were you familiar with the 800
 12    numbers?
 13            A.    From a marketing standpoint, yes.
 14            Q.    Okay.      So if somebody had a
 15    question about -- a content question and they
 16    called the 800 number, was somebody available
 17    to answer that question?
 18            A.    To my knowledge, yes.
 19            Q.    Did Trump University have different
 20    800 numbers?
 21            A.    Not that I can recall.
 22            Q.    Were people directed to different
 23    places by the same 800 number?
 24                  MS. ECK:        Objection, calls for
 25    speculation.

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                                                                      Ex. 117 - 6321
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6305 Page 67 of 83


                                                                                     Page 106
  1    conversation with J.B. Olson.                    Typically to
  2    get a testimonial from somebody, there are
  3    several conversations.
  4                  Page 79 would be an article that
  5    was -- let's see.          An interview with Richard
  6    Parker, so this would've been an article I
  7    would've received.          Looks like Barry Lenson
  8    had interviewed him.            And that goes on to page
  9    80.   There's an ad there for Trump.                           So -- on
 10    the back cover, which was pretty static.
 11            Q.    On 131279, the article by Trump
 12    University Professor Richard Parker, do you
 13    know who he is?
 14            A.    He's I believe one of the -- it
 15    says here one of the professors, though.                           I
 16    believe I'd spoken with him actually too at
 17    one point.     But the interview was conducted by
 18    Barry Lenson, who was a staff writer for Trump
 19    University.      I believe he was from New
 20    Hampshire or Vermont or someplace up north.
 21            Q.    All right.          Let's go back to the
 22    second page of the document which is the
 23    member services.
 24            A.    Okay.
 25            Q.    I had asked you earlier whether or

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                                                                              Ex. 117 - 6322
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                                                                             Page 107
  1    not there was more than one 800 number for
  2    Trump University.          And if you look at these
  3    three boxes, it looks like there's a number of
  4    different either 800 or 877 or 888 numbers,
  5    right?
  6            A.     Uh-huh.      Correct.
  7            Q.     And it depends whether you want
  8    information regarding the hotline or member
  9    services or Trump University itself or
 10    specifically about insurance issues or
 11    financial issues or stock issues or tax or
 12    casualty, right?
 13            A.     Correct.
 14                   MS. ECK:       Objection, compound,
 15    calls for speculation, speaks for itself.
 16    BY MR. SCHNEIDER:
 17            Q.     Each of those has -- each of those
 18    have their own separate 800 or 877 or 888
 19    number, right?
 20            A.     Correct.
 21            Q.     Okay.     You can put that one aside.
 22                 I don't know whether I'm going to
 23    mark this yet.         I'm going to ask you what it
 24    is first.
 25                   (Witness Reviews Document.)

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                                                                      Ex. 117 - 6323
Case 3:10-cv-00940-GPC-WVG Document 143-3 Filed 11/30/12 PageID.6307 Page 69 of 83


                                                                                  Page 138
  1            A.    They were the vendor who put
  2    together the Trump Advantage magazine.                         So
  3    they would create the 24 pages of content that
  4    would be used by other organizations as well,
  5    and then we would have eight pages that were
  6    unique to Trump that wrapped around that.
  7    They also did the e-mail support for people
  8    who would e-mail questions to those e-mail
  9    addresses that were listed in Advantage and
 10    they also answered the phones.                     They also did
 11    the teleseminars as well.
 12            Q.    All right.          If you look at -- now,
 13    did IAS provide coaching?
 14            A.    It says here that they -- that the
 15    call is with a specific support person, IAS
 16    employee.
 17            Q.    Right.       And do you know whether
 18    that would involve real estate information
 19    from the IAS person?
 20            A.    I believe there was a real estate
 21    800 number, so that they would receive that.
 22            Q.    And if you look down underneath the
 23    last bullet point, referral back to Steve
 24    Goff, "Calls that are more advanced can be
 25    referred to Steve Goff for the support

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                                                                           Ex. 117 - 6324
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                                                                              Page 139
  1    needed."     Do you see that line?
  2            A.    Yes.
  3            Q.    And was that your understanding,
  4    that if someone had a real estate question
  5    that was more advanced, that Trump University
  6    would refer it to Steve Goff?
  7                  MS. ECK:         Objection, calls for
  8    speculation.
  9            A.    I would assume so, yes.
 10    BY MR. SCHNEIDER:
 11            Q.    That's why you put it in this memo,
 12    right?
 13            A.    Yes.      This would've been based on
 14    obviously a conversation between David
 15    Highbloom, Michael Sexton, Josef and myself.
 16            Q.    It was your understanding as of
 17    July 11, 2007, when you wrote this that people
 18    calling in with more advanced questions about
 19    real estate would get referred to Steve Goff,
 20    correct?
 21            A.    Correct.
 22            Q.    And it was your understanding that
 23    he was an expert in real estate, correct?
 24                  MS. ECK:         Objection, calls for
 25    speculation, lack of foundation.

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                                                                       Ex. 117 - 6325
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                              EXHIBIT 118




                                                                 Ex. 118 - 6326
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                                                                                Page 1
  1

  2                  UNITED STATES DISTRICT COURT
  3                  SOUTHERN DISTRICT OF NEW YORK
  4   ----------------------------------X
      TARLA MAKAEFF, et al., on
  5   Behalf of Themselves and                Case No. 3:10-CV-00940-CAB(WVG)
      all Others Similarly Situated,
  6

                      Plaintiffs,
  7

              v.
  8

      TRUMP UNIVERSITY, LLC, et al,
  9

                      Defendants.
 10   ----------------------------------X
 11

 12                  VIDEOTAPED DEPOSITION
 13                              OF
 14                     CORINNE A. SOMMER
 15                     New York, New York
 16                Wednesday, November 7, 2012
 17

 18

 19

 20

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 22

 23

 24   Reported by:
      ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
 25   JOB NO. 54530

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                                                                      Ex. 118 - 6327
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                                                                                Page 283
  1                               C. Sommer
  2          A.      I had nothing to do with the pay, but
  3    I know that they were paid -- there was
  4    commission paid and I know that it was before
  5    the mentorship was completed.
  6          Q.      Do you know if it was before the
  7    in-field mentorship was completed?
  8          A.      No, I don't know that.
  9          Q.      And do you know what the mentor's
 10    incentive was to call back consumers?
 11          A.      No.
 12          Q.      If a mentor didn't call back
 13    consumers and consumers were unhappy with the
 14    mentor, they wouldn't get any more students,
 15    right?
 16                  MS. ECK:        Objection.             Calls for
 17          speculation.
 18          A.      That's not necessarily true.                     This
 19    wasn't really a word-of-mouth business.
 20          Q.      What do you mean by that?
 21          A.      Meaning --
 22                  THE WITNESS:            Can you say again what
 23          he just said?
 24                  (Question was read back as follows:
 25                  "QUESTION:          If a mentor didn't call

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                                                                         Ex. 118 - 6328
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                              EXHIBIT 119




                                                                 Ex. 119 - 6329
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                                                                                Page 1
  1    UNITED STATES DISTRICT COURT
  2    SOUTHERN DISTRICT OF CALIFORNIA
  3    ----------------------------X
  4    TARLA MAKAEFF, et al., on
  5    Behalf of Themselves and All
  6    Others Similarly Situated,
  7                      Plaintiffs,
  8          -vs-                                 No. 3:10-CV-00940-CAB
  9    TRUMP UNIVERSITY,          LLC,
 10    et al,
 11                      Defendants.
 12    ----------------------------X
 13

 14    VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
 15                   San Francisco, California
 16                         October 15, 2012
 17

 18

 19

 20

 21

 22

 23    Reported by:
       Bonnie Pruszynski, RMR, CSR No. 13064
 24    JOB NO. 54291
 25



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                                                                      Ex. 119 - 6330
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                                                                                  Page 175
  1            Q         How do you know that?
  2            A         Talking to them about it.
  3            Q         Just the way they spoke?
  4            A         No.    I believe that they told me that
  5    they didn't have formal education.
  6            Q         By that, you are talking about
  7    college?
  8            A         Correct.
  9            Q         And how old was Rami?                    How old would
 10    you estimate?
 11            A         Late 30s, early 40s maybe.
 12            Q         And what were the Moores' education?
 13            A         I don't know if I got into education
 14    with them.
 15            Q         The next part of that sentence says
 16    that "Trump University preyed upon the elderly and
 17    uneducated to separate them from their money."
 18            A         I would say, I don't necessarily know
 19    that "elderly" is accurate.                     I would -- I would
 20    stand by uneducated, with the two examples that I
 21    just gave of the Moores potentially and Rami.
 22            Q         And what did Trump University do to
 23    prey on the uneducated?
 24            A         The -- "demographic" is not the right
 25    word.       Just the overall scene in the room of the

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                                                                          Ex. 119 - 6331
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                              EXHIBIT 120




                                                                 Ex. 120 - 6332
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                                                                                Page 1
  1

  2                  UNITED STATES DISTRICT COURT
  3                  SOUTHERN DISTRICT OF NEW YORK
  4   ----------------------------------X
      TARLA MAKAEFF, et al., on
  5   Behalf of Themselves and                Case No. 3:10-CV-00940-CAB(WVG)
      all Others Similarly Situated,
  6

                      Plaintiffs,
  7

              v.
  8

      TRUMP UNIVERSITY, LLC, et al,
  9

                      Defendants.
 10   ----------------------------------X
 11

 12                  VIDEOTAPED DEPOSITION
 13                              OF
 14                     CORINNE A. SOMMER
 15                     New York, New York
 16                Wednesday, November 7, 2012
 17

 18

 19

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 24   Reported by:
      ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
 25   JOB NO. 54530

                           TSG Reporting - Worldwide   877-702-9580
                                                                      Ex. 120 - 6333
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                                                                             Page 177
  1                               C. Sommer
  2    demographics of people that attended either the
  3    free program or any of the paid programs?
  4          A.      No.
  5          Q.      Were you part of any discussions at
  6    Trump University in which there was talk or
  7    discussion about the types of people that Trump
  8    University wanted to attend?
  9          A.      No.
 10          Q.      Are you aware of any effort to target
 11    any particular group of people?
 12          A.      No.
 13          Q.      By age?
 14          A.      No.
 15          Q.      By gender?
 16          A.      No.
 17          Q.      By income level?
 18          A.      No.
 19          Q.      Anything else?
 20          A.      No.
 21          Q.      And during your 20 events that you
 22    attended, did you personally attempt to target
 23    any particular group of people?
 24          A.      No.
 25          Q.      And are you aware of anybody else at

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                                                                      Ex. 120 - 6334
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                              EXHIBIT 121




                                                                 Ex. 121 - 6335
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                                                                                 Page 1
  1          IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  2

       TARLA MAKAEFF, et al., on §
  3    Behalf of Themselves and  §
       All Others Similarly      §
  4    Situated,                 §
                                 §
  5             Plaintiffs       §
                                 §                     Civil Action No.
  6    VS.                       §                     3:10-CV-00940-CAB
                                 §
  7    TRUMP UNIVERSITY, LLC,    §
       et al.,                   §
  8                              §
                Defendants       §
  9    _________________________ §
 10
 11
 12
 13
 14
 15        VIDEOTAPED DEPOSITION OF CHERYL DONNELLY
 16                     Austin, Texas
 17                Friday, November 2, 2012
 18
 19
 20
 21
 22    Reported by:
 23    MICHEAL A. JOHNSON, CRR
 24    JOB 54334
 25



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  1    are our customers?"
  2            A.     Okay.
  3            Q.     Do you have any information whether
  4    or not those bullet points are accurate or not
  5    as to who the Trump University customers were?
  6            A.     I do not know that this was
  7    accurate information regarding -- this may be
  8    ideal customers or -- but I do not recall.
  9            Q.     The bullet point that says, "Head
 10    of household, 40 to 54 years old," do you know
 11    if that's true?
 12            A.     I do not know.            I do know that
 13    there were some older customers.                      There may
 14    have been younger ones as well.                      This may be,
 15    you know, a median.           I don't know.
 16            Q.     While you worked at Trump
 17    University, did you ever hear anybody say
 18    anything which indicated that Trump University
 19    was targeting senior citizens?
 20            A.     Not that I can recall.                   Senior
 21    citizens typically have more disposable
 22    income.      But specific conversations I cannot
 23    recall at this time.
 24            Q.     Any of the marketing material that
 25    you prepared, was it geared towards senior

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  1    citizens?
  2            A.    Not that I can recall, no.
  3            Q.    Any of the marketing material that
  4    you saw while you worked at Trump University,
  5    was it geared toward senior citizens or
  6    anybody over 65?
  7            A.    Not that I can recall.
  8                  (Deposition Exhibit 7 marked.)
  9    BY MR. SCHNEIDER:
 10            Q.    I've marked as Exhibit 7 a one-page
 11    document which is Bates DONNELLY947 and it
 12    is -- looks like a description and agenda for
 13    a program by J.J. Childers in Orlando,
 14    April 27 to 29.        First question is, do you
 15    know why you have this document?
 16            A.    I probably had been working on the
 17    event, marketing it for marketing materials to
 18    understand, you know, what was to come because
 19    obviously ads would need to be placed.                         And
 20    generally this information was sent throughout
 21    the company so that people were aware of what
 22    was going on.
 23            Q.    And on the right side it says
 24    "Agenda."     Was it your understanding those
 25    were the topics that would've been addressed

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